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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

  CLOVER COFFIE, ELIJAH SMITH, and
  SHANTE LEGRAND, each individually and
  on behalf of all others similarly situated,

         Plaintiffs,                             Case No. 9:19-cv-80730-RS-MM
                                                 CLASS ACTION
  vs.                                            Jury Trial Demanded

  FLORIDA CRYSTALS CORPORATION,
  et al..


        Defendants.
  _________________________________________/

         RESPONSE IN OPPOSITION TO UNITED STATES SUGAR CORP.’S
        MOTION TO DISMISS AND INCORPORATED MEMORANDUM OF LAW
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         NOW COME Plaintiffs, CLOVER COFFIE, ELIJAH SMITH, and SHANTE

  LEGRAND (collectively, “Named Plaintiffs” or “Plaintiffs”), by and through undersigned

  counsel, and pursuant to Fed.R.Civ.P. 12(b)(6), hereby file their Response in Opposition to the

  Motion to Dismiss, [DE 81] (“the Motion”), filed by Defendants United States Sugar

  Corporation (“U.S. Sugar”), Independent Harvesting, Inc. (“Independent”),               Sugarland

  Harvesting Co. (“Sugarland”), Sugar Cane Growers Cooperative of Florida (the “Cooperative”),

  Trucane Sugar Corporation (“Trucane”), King Ranch, Inc. (“King Ranch”), and J & J Ag

  Products, Inc. (“J & J”), (collectively the “U.S. Sugar Motion Defendants” or “Defendants”),12

  and further state:

                                         INTRODUCTION

         At its heart, Defendants’ Motion ignores the simple fact that they could employ proven

  green methods of harvesting sugarcane — instead of methods that cause the toxic “black snow”

  to rain down on Plaintiffs and the putative class members — and they simply choose not to.

  There is nothing that would prevent it, other than, as Plaintiffs allege, Defendants’ choice to put

  their profits ahead of the impacted communities and the environment. Defendants’ arguments as

  to standing are premature and impermissibly attempt to equate the standing pre-requisite with the

  tort standard of proximate cause. Defendants’ arguments as to the Right to Farm Act ignore the

  exceptions written into the Act, and that there has been no decision barring Plaintiffs’ claims


  1
     Three Motions to Dismiss were filed in response to the Amended Complaint. This
  memorandum of law is in opposition to Docket Entry 81. A separate response by Named
  Plaintiffs will be filed in response to the Florida Crystals group response. [DE 84]. Plaintiffs
  have voluntarily dismissed Defendant King Ranch and thus, no response is required to their
  Motion.
  2
    Any reference to “Defendants” herein shall mean these named Defendants, with the exception
  of King Ranch, Inc., who Plaintiffs have voluntarily dismissed concurrent to this filing. When
  referencing the Amended Complaint herein, Plaintiffs will use just “Complaint” or “Compl.”
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  here. Defendants’ arguments as to “primary jurisdiction” ignore the fact that Plaintiffs have not

  pursued a public nuisance claim and misplace reliance on Flo-Sun, Inc. v. Kirk, 783 So. 2d 1029

  (Fla. 2001), which was actually a narrow holding. This is not a case about enjoining permits to

  burn sugarcane fields; rather it is a case about getting Defendants to stop seeking the burn

  permits in the first place.

                        DEFENDANTS MISSTATE THE ALLEGATIONS

          Defendants misstate and misconstrue the allegations of the Amended Complaint in the

  “Background” section of their Motion. The fact that sugarcane burning goes back to “at least the

  early 1930s,” (Motion at 7), only highlights the fact that the method is archaic. Plaintiffs have

  clearly alleged that green methods have been proven in other sugarcane producing countries to

  improve profits and yields and protect the soil for future crops.       (Compl. ¶¶ 26, 58–62).

  Plaintiffs in no way have alleged or conceded that there are acceptable benefits to sugarcane

  burning.   (Motion at 7).     Instead, Plaintiffs clearly allege that any purported benefits that

  Defendants cling to are substantially outweighed by the harm that is caused to the surrounding

  communities. (Compl., e.g., ¶¶ 27, 48–52, 54–56).

          Indeed, as the Complaint alleges, no one, not even the Forest Service, prevents

  Defendants from using green harvesting methods, as Defendants are sometimes forced to use

  such measures on those occasions when the wind is blowing into eastern Palm Beach County.

  (Compl. ¶ 57). Moreover, when it comes to the wind, and Defendants’ claims that Plaintiffs

  cannot link their harms to any particular defendant, they ignore maps and the studies that




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  Plaintiffs cite to and rely on in the Complaint.3 Defendants’ sugarcane fields cover hundreds of

  thousands of acres, 90% of which are in Palm Beach County. (Compl. ¶ 43).

         Any readily available Florida Forest Service (“FFS”) map of the county shows that, apart

  from the eastern sliver of wealthy developed communities along the I-95 corridor, most of the

  county is agricultural land and sugarcane fields, and that the communities in the Affected Area

  are surrounded by those fields. None of the Defendants deny burning in their Motion, nor do

  they deny burning in or near the Affected Area. (See Motion, generally). Plaintiffs have alleged

  that the toxic ash plumes from all Defendants “are discharged, blown through, and deposited

  onto Plaintiffs’ real properties,” (Compl. ¶ 56), and that the “toxic smoke and ash emitted from

  the pre-harvest fires (referred to as “black snow”) travels through and gets deposited onto

  properties in the Affected Area.” (Compl. ¶ 52). And studies Plaintiffs cited to and incorporated

  into the Amended Complaint demonstrate that a small burn area can have an impact tens of miles

  away, i.e., the effects of one burn are very widespread. (E.g., Ex. A to this Response). As the

  Amended Complaint alleges, contrary to Defendants’ citations to FFS regulations, and the “new”

  regulations they attached, about restricting burns due to wind direction, only support Plaintiffs’

  allegations that the primary restriction is when the wind is blowing towards the wealthy areas of

  the eastern part of the County, (Compl. ¶ 56), a point also raised in a study referenced in the

  Complaint.4 (Compl. ¶¶ 49, 54, n. 4).



  3
    A complaint should be considered in its entirety at the motion to dismiss stage, including
  documents that have been incorporated by reference into the complaint. See Tellabs, Inc. v.
  Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); see also Day v. Taylor, 400 F.3d 1272,
  1276 (11th Cir. 2005) (“[A] document need not be physically attached to a pleading to be
  incorporated by reference into it.”).
  4
    Orhan Sevimoglua and Wolfgang F. Rogge, Seasonal size-segregated PM10 and PAH
  concentrations in a rural area of sugarcane agriculture versus a coastal urban area in
  Southeastern Florida, USA, PARTICUOLOGY, Vol. 28, pp. 52–59, at p. 58 (2016) (attached hereto
  as Exhibit A). “[T]the Court may take judicial notice of and consider documents which are
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         Defendants’ arguments about FFS regulations — which Defendants use to go factually

  outside the four corners — imply: 1) that FFS uniformly enforces the regulations as stated; 2)

  that Defendants uniformly follow the regulations; and 3) improperly, and misleadingly, conflate

  the State of Florida’s prescribed burn regulatory scheme with Defendants’ pre-harvest sugarcane

  burning. But the the former is an FFS land management tool intended to reduce wildfires and

  keep everyone safer, whereas the latter is a business decision that serves only to inflate

  Defendants’ profits. Defendants’ conflation of sugarcane burning with prescribed burning

  suggests that sugarcane burning is somehow endorsed, or even required, by the State of Florida,

  which is just not the case. Florida merely provides Defendants the opportunity to request

  authorization for a burn within a larger state-wide burn permitting program. See Fla. Stat. §

  590.125(3)(a) (West 2019) (legislative purpose) (“The application of prescribed burning is a land

  management tool that benefits the safety of the public, the environment, and the economy of the

  state. . . . reduc[ing] the risk and severity of wildfire.”). Moreover, taking the Complaint’s

  world-view perspective, green harvesting is an acceptable and preferred agriculture practice,

  (Compl. ¶¶ 26, 57–62), and no FFS regulation would stop Defendants from employing it.

                                   MEMORANDUM OF LAW

          Plaintiffs do not disagree with the motion to dismiss standard articulated in Ashcroft v.

  Iqbal, 556 U.S. 662, 663 (2009) and Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

  However, “[s]pecific facts are not necessary; the [allegations] need only ‘give the defendant fair

  notice of what the . . . claim is and the grounds upon which it rests.’” Erickson v. Pardus, 551

  U.S. 89, 93 (2007) (quoting Twombly, 550 U.S. at 555). As the Eleventh Circuit noted in


  public records, that are attached to the motion to dismiss, without converting the motion to
  dismiss into a motion for summary judgment. Haddad v. Dudek, 784 F. Supp. 2d 1308, 1324
  (M.D. Fla. 2011).


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  overruling a dismissal under Rule 12(b)(6) in Speaker v. U.S. Dept. of Health and Human

  Services Centers for Disease Control and Prevention, in Twombly,

         The Supreme Court distinguished “plausible” claims from allegations that were
         merely “conceivable,” and stated that the Court “[did] not require heightened fact
         pleading of specifics, but only enough facts to state a claim to relief that is
         plausible on its face.” . . . Furthermore, “a well-pleaded complaint may proceed
         even if it strikes a savvy judge that actual proof of those facts is improbable, and
         that a recovery is very remote and unlikely.” . . . [S]ee also Watts v. Fla. Int'l
         Univ., 495 F.3d 1289, 1295–96 (11th Cir. 2007) (“The Court has instructed us that
         the rule ‘does not impose a probability requirement at the pleading stage,’ but
         instead ‘simply calls for enough fact to raise a reasonable expectation that
         discovery will reveal evidence of’ the necessary element.”) (quoting Twombly).

  623 F.3d 1371, 1380 (11th Cir. 2010). In sum, the Supreme Court and the Eleventh Circuit have

  directed this Court to deny Defendants’ motion to dismiss under the detailed allegations here.

  meets this standard.

  I.     Defendants Impermissibly Attempt to Equate the “Fairly Traceable” Standing
         Prong to Proximate Cause.

         Defendants’ attack on Plaintiffs’ Article III standing is both premature and without merit.

  Constitutional standing requires:

         (1) that the plaintiff suffered an injury in fact—an invasion of a legally protected
         interest, which is (a) concrete and particularized, and (b) actual or imminent, not
         conjectural or hypothetical; (2) there must be a causal connection between the
         injury and the conduct complained of—the injury has to be fairly traceable to the
         challenged action of the defendant; and (3) it must be likely, as opposed to merely
         speculative, that the injury will be redressed by a favorable decision.

  In re Takata Airbag Prods. Liab. Litig., 396 F. Supp. 3d 1101, 1119 (S.D. Fla. 2019) (citing

  Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 889 (1990)). Defendants’ Motion primarily argues

  that Plaintiffs do not meet the second prong, and that they cannot fairly trace their allegations to

  any Defendants. (Motion at 8). First, this is simply untrue. Plaintiffs’ allegations more than

  sufficiently plead the required relationship between the alleged conduct of all Defendants and


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   Plaintiffs, as addressed above and infra. Second, the “fairly traceable” standard is not equivalent

   to a requirement of tort causation. Natural Res. Def. Council, Inc. v. Watkins, 954 F.2d 974,

   980 n.7 (4th Cir. 1992). The “fairly traceable” requirement “is in large part designed to ensure

   that the injury complained of is ‘not the result of the independent action of some third party not

   before the court.’” Friends of the Earth, Inc. v. Gaston Copper Recycling Corp., 204 F.3d 149,

   162 (4th Cir. 2000) (quoting [Lujan v.] Defenders of Wildlife, 504 U.S. [555, 560 (1992)]).

          Both the U.S. Supreme Court and the Eleventh Circuit have agreed that “fairly traceable”

   does not mean proximate causation. Lexmark Int’l, Inc. v. Static Control Components, Inc., 572

   U.S. 118, 134 (2014); Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263,

   1273 (11th Cir. 2003). At the motion to dismiss stage standing may be found where plaintiffs

   connect injury to defendants’ conduct with “general factual allegations.” Fla. Pub. Interest

   Research Grp. Citizen Lobby, Inc. v. E.P.A., 386 F.3d 1070, 1083 (11th Cir. 2004).

          Defendants are attempting to equate standing’s causal connection requirement with

   proximate cause and the law renders this impermissible. The injuries complained of here are

   “not the result of the independent action of some third party not before the court.” Defendants

   have not denied burning sugarcane, or denied burning sugarcane in the Affected Area. Indeed,

   the Docket reflects that Plaintiffs voluntarily dismissed Flo-Sun, American Sugar Refining and

   King Ranch, after each made declarations that they do not burn.        [DEs 74, 102]. No other

   Defendant here has stepped forward. Plaintiffs’ allegations against these remaining Defendants,

   (e.g., Compl. ¶¶ 2, 49), relied on documents published by FFS, and provided under a FOIA

   request, that identified each of the Defendants as burning in, around, and adjacent to the Affected

   Area and the named communities.




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            Defendants focus on Named Plaintiffs only alleging to be adjacent to “many” of

   Defendants’ fields, or a lack of linking dates and times of specific burns to Defendants

   completely misses the point. (Motion at 4–5). It would not matter if a Named Plaintiff only

   lived next to one field. The issue is, as has been pled, that all Defendants burn, and the burning

   goes on for six months of the year, and plumes of toxic particulate matter carry for miles and

   miles.

            Even at the trial level, in pollutant related cases courts have widely held that in relation

   to the fairly traceable prong, “plaintiffs need not prove to a scientific certainty that a defendant’s

   waste caused the precise harm suffered by the plaintiffs.” Me. People's All. v. Holtrachem Mfg.

   Co., L.L.C., 211 F. Supp. 2d 237, 253 (D. Me. 2002) (citing Public Interest Research Group of

   New Jersey, Inc. v. Powell Duffryn Terminals, Inc., 913 F.2d 64, 72 (3rd Cir. 1990), cert.

   denied, 498 U.S. 1109 (1991).        “A plaintiff's injury is ‘fairly traceable’ to the defendant’s

   conduct when there is a ‘substantial likelihood’ that the conduct caused the harm,”               but

   traceability “does not mean that plaintiffs must show to a scientific certainty that defendant’s

   effluent . . .caused the precise harm suffered by the plaintiffs.   Me. People's All, at 253 (citing

   Gaston, supra, 204 F.3d at 161).         “The ‘fairly traceable’ standard is not equivalent to a

   requirement of tort causation, a plaintiff must merely show that a defendant discharges a

   pollutant that causes or contributes to the kinds of injuries alleged in the area of concern. Id.

   (quotations omitted). See also S.F. Baykeeper v. W. Bay Sanitary Dist., 791 F. Supp. 2d 719,

   748 (N.D. Cal. 2011) (quoting the same passage from Gaston as well as the Ninth Circuit in

   determining a motion for summary judgment).           The case law demonstrates that plaintiffs are

   allowed the leeway to prove their allegations related to standing, and that Defendants’ arguments

   are premature here.



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          We are at the motion to dismiss stage, where the allegations are taken as true, and this is

   precisely what Plaintiffs have sufficiently alleged:      all of the Defendants’ burning activity

   discharges pollutants that cause or contribute to the injuries alleged by each Named Plaintiff; that

   each of them burns in the area the Complaint is concerned with and affect the Named Plaintiffs,

   and we have incorporated information that one burn can have a widespread impact for many

   miles. (Compl. ¶¶ 54, n.4).5 The causal connection for standing “need not be so airtight at this

   [summary judgment] stage of the litigation as to demonstrate that the plaintiffs would succeed on

   the merits.” Id. at 748–49 (citing the Third Circuit). If it need not be so airtight at summary

   judgment, it need not be so airtight at this stage, although Plaintiffs argue that it is still

   sufficiently pled. “Where more than one potential discharger is part of the same system, a

   plaintiff need not show that the discharge came from a specific user.” Id. Defendants’ collective

   burning activities which are almost entirely in one geographic area and emit injurious particulate

   matter into the air that rains down on Plaintiffs are part of the same “system” of burns during the

   harvesting season.

          Finally, Defendants’ reliance on Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016), is

   misplaced. Spokeo very squarely addressed the “concrete and particularized” prong of standing,

   and not the “fairly traceable” prong. See id., at 1547–48. The question of “fairly traceable” did

   not factor in Spokeo’s decision other than in the recitation of the elements of standing. See

   generally, id. But the Complaint more than satisfies all prongs of Article III standing. A

   “concrete” injury is one that is de facto, that is, it actually exists. Nicklaw v. Citimortgage, Inc.,

   839 F.3d 998, 1002 (11th Cir. 2016). A “particularized injury” is one that affects the plaintiff in a



   5
    See Note 4, supra. The study cited is focused on elevated levels of Belle Glade and Delray
   Beach, from the same burning activity, yet they are at least 40 miles away from each other,
   demonstrating the wide-spread impact, albeit to a much lesser extent in the wealthier community.
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   personal or individual way. Stacy v. Dollar Tree Stores, Inc., 274 F. Supp. 3d 1355, 1361 (S.D.

   Fla. 2017). Plaintiffs have alleged a concrete injury and particularized injury. For example,

   Plaintiffs have alleged that Defendants’ burns produce numerous hazardous substances that get

   deposited on Plaintiffs’ properties. (Compl. at ¶¶ 3, 50, 51, 56). Plaintiffs have alleged that the

   “black snow” produced by Defendants’ burning contains “pollutants, pesticides, fungicides and

   contaminants” and that this prohibited discharge of “black snow” migrates onto Plaintiffs’

   properties. (Compl. at ¶¶ 153-54). Plaintiffs’ allegations of both particulate and chemical

   contamination of their real property establish a concrete, particularized, and actual injury. For her

   medical monitoring claim, Plaintiff has alleged a concrete, particularized, actual injury of

   exposure to greater than normal background levels of hazardous substances leading to a

   significantly increased risk of serious disease as a result of Defendants’ conduct.6 (Compl. at ¶¶

   9, 54, 174).

          The prong of redressability is also clearly met: money damages would redress the past

   harms to Plaintiffs’ property values, injunctive relief would address the imminent future claims

   of the property owner Plaintiffs, and medical monitoring would address the medical monitoring

   Plaintiff’s significantly increased risk of serious disease. A favorable decision would almost

   certainly, not just “likely,” provide redress for the harm alleged.

          Defendants other case law is equally unavailing. Prado-Steinman ex rel. Prado v. Bush,

   221 F.3d 1266, 1279–80 (11th Cir. 2000), but Prado is not a motion to dismiss decision. Prado

   was an interlocutory appeal from class certification, and the court was looking at narrow areas of

   disagreement between the parties. Id. at 1280, 1282. It ultimately remanded to the district court



   6
     Even if the Court were inclined to view exposure to hazardous substances leading to a
   significantly increased risk of serious disease as an “intangible” injury, intangible injuries still
   satisfy the Article III “concrete” requirement. Nicklaw, 839 F.3d at 1002.
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   to more fully establish the factual record, with instructions to ensure that at least one named

   representative for the class or subclass had standing for each proffered class or subclass claim.

   Id. at1280. In the instant case, Plaintiffs have listed two named plaintiffs who would satisfy that

   requirement for the proposed property damage class, and one named plaintiff who would satisfy

   that requirement for the medical monitoring class. (Compl. ¶¶ 7–9, 122–23).

           Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26 (1976), which Defendants cite for the

   unremarkable proposition that standing of putative class representatives is relevant in class

   action, is significantly different from the instant case. Simon is a case where plaintiffs failed to

   trace their injury to defendants’ actions, because the defendants were not the parties who

   wronged them, and also failed to show that the relief requested would redress the harms. Id. at

   26. That is not the case here.

           Stewart v. Bureaus Inv. Grp. #1, LLC, 24 F. Supp. 3d 1142, 1154 (M.D. Ala. 2014)

   differs significantly from the instant case it was decided with the benefit of discovery, and the

   dismissed defendants, with whom plaintiff had no interaction, were non-existent entities and

   mere “d/b/a’s” for other entities. Id. at 1150, 1152. Here, there has been no discovery, and no

   Defendant has claimed Plaintiffs have sued a non-existent entity.

           Shamblin v. Obama for Am., 2015 WL 1754628, at *4 (M.D. Fla. Apr. 17, 2015) differs

   from the instant case in that it was decided at the summary judgment stage. Id. at. *2. Shamblin

   also supports the unremarkable statement that a party must assert their own legal interests and

   not rest their standing on the legal interests of a third party. Id. at *4.

           Pope v. City of Clearwater, 138 F.R.D. 141 (M.D. Fla. 1991) is inapplicable here

   because: 1) it was decided at the class certification stage; and 2) its named plaintiff, who was

   also a partner in the law firm representing him in the action, attempted to represent three



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   different classes, while bringing claims against a proposed defendant class composed of “all

   governmental entities” within a federal judicial district. Id. at 141-45.

          Toback v. GNC Holdings, Inc., 2013 WL 5206103 (S.D. Fla. Sept. 13, 2013) differs from

   the instant case in that its plaintiff asserted claims against a supplement seller under the Florida

   Deceptive and Unfair Trade Practices Act, and was bringing claims against defendants based on

   products that he did not actually purchase. Id. at *3-4. Again, this is not the instant situation.

          Defendants’ standing claims are premature and impermissibly equate the causal

   connection of the “fairly traceable” prong with tort causation, and their Motion to Dismiss

   should be denied.

   II.    Florida’s Right to Farm Act Expressly Disavows an Absolute Immunity, and
          Defendants Ignore the Bulk of Plaintiffs Actual Claims.

          Accepting Defendants’ Right to Farm Act arguments on their face would lead this Court

   into clear error, as the Act does not provide an absolute immunity from suit. Quite to the

   contrary, the express language of the statute creates several exceptions, and does not allow a

   farm operation to become a nuisance:

          (4) Farm operation not to be or become a nuisance. —

          (a) No farm operation which has been in operation for 1 year or more since its
          established date of operation and which was not a nuisance at the time of its
          established date of operation shall be a public or private nuisance if the farm
          operation conforms to generally accepted agricultural and management practices,
          except that the following conditions shall constitute evidence of a nuisance:

          1. The presence of untreated or improperly treated human waste, garbage, offal,
          dead animals, dangerous waste materials, or gases which are harmful to human
          or animal life.
          2. The presence of improperly built or improperly maintained septic tanks, water
          closets, or privies.
          3. The keeping of diseased animals which are dangerous to human health, unless
          such animals are kept in accordance with a current state or federal disease control
          program.



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          4. The presence of unsanitary places where animals are slaughtered, which may
          give rise to diseases which are harmful to human or animal life.

          (5) When expansion of operation not permitted. — This act shall not be
          construed to permit an existing farm operation to change to a more excessive farm
          operation with regard to noise, odor, dust, or fumes where the existing farm
          operation is adjacent to an established homestead or business on March 15, 1982.

   Fla. Stat. § 823.14 (LexisNexis 2019) (emphasis supplied).

          The Florida case relied on by Defendants for support even recognizes that the four

   exceptions of § 823.14(4)(a) “involve activities which would rarely, if ever, be regarded as

   acceptable agricultural practices.” Pasco Cty. v. Tampa Farm Serv., 573 So. 2d 909, 911 (Fla.

   2d DCA 1990) (emphasis supplied). Indeed, as Defendants’ themselves concede, it was the

   intent of the legislature “to protect reasonable agricultural activities . . .” (Motion at 9 (quoting

   Fla. Stat. § 823.14(2) (emphasis supplied)). While Pasco was a decision based on the exception

   found under § 823.14(5), it still stands for the proposition that the Act does not provide absolute

   immunity, and that court reversed the defense verdict and remanded for a new trial to determine

   if defendant’s activities ran afoul of § 823.14(5). Pasco, at 912. Defendants rely on no other

   case for their suggestion of absolute immunity under the Act, other than inapposite out of state

   decisions, which are distinguished infra.

          Plaintiffs in no way concede that sugarcane burning, as conducted by Defendants, is an

   acceptable agricultural practice, and in fact allege the exact opposite. Plaintiffs’ allegations,

   which must be taken as true, clearly and amply set forth, while being founded in scientific

   studies, that the “black snow” created by the burning contains, as the exception to the Act

   prohibits, “dangerous waste materials, or gases which are harmful to human or animal life.” (See

   Compl. ¶¶ 64–70, 76–110). The Complaint’s allegations detail the harmful and dangerous

   components to the ash, including carcinogens and Volatile Organic Compounds, and note that



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   “[d]uring the sugarcane harvest burning, 70% of the particles are in the PM2.5 range and 82% of

   the PAHs are in the fine fraction, which increases the risk of respiratory illness because the PM2.5

   can penetrate deeper into the lungs.”7      (Compl. ¶ 105).     Plaintiffs expect their experts to

   establish, scientifically, that the fine particulate matter generated by sugarcane burning, apart

   from the widespread property damage it causes, also poses significant health risks over the entire

   area, and are a danger to human life. It is not the public policy of Florida that an agricultural

   practice should be a danger to human life, and the legislature codified exactly that in the plain

   and express language of § 823.14.

           Moreover, even if arguendo, the Act could apply to Plaintiff’s nuisance claims — which

   Plaintiffs deny — it still would not prohibit Plaintiffs’ general negligence, strict liability,

   statutory, medical monitoring, and injunctive relief claims (Compl. Counts I–III, VI, VII).

   Further, Defendants’ claims that the Complaint contains no allegations of sugarcane burning

   being a nuisance prior to the founding of Defendants’ operations are hollow. (Motion at 14). A

   plain reading of the Complaint clearly demonstrates that Plaintiffs do not concede any benefits to

   the “cheap” practice, and believe that sugarcane burning has been and would always be “a

   constant nuisance,” and Plaintiffs have simply lacked the economic or legislative clout to do

   anything about it. (Compl. ¶¶ 27, 46, 48, 111–20). More interestingly, Defendants make no

   attempt to discredit green harvesting as an un-acceptable harvesting practice. They just do not

   want to spend any of their substantial and subsidized profits on converting to a practice that

   would eliminate the toxic ash (and still benefit them in the long run by providing higher yields

   and richer soil).



   7
    Particulate matter is denoted as “PM” with a subscript indicating the diameter of the particles,
   such as PM2.5 (particulate matter with a diameter of less than 2.5 micrometers), PM10 (diameter
   of less than 10 micrometers), or PM0.5 (diameter of less than 0.5 micrometers).
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          Defendants’ citations to out of state and non-binding decisions regarding Right to Farm

   Acts are easily distinguishable, and ignore Plaintiffs’ statutory, strict liability claims, and

   medical monitoring claims. First, in Himsel v. Himsel, 122 N.E. 3d 935 (Ind. Ct. App. 2019), the

   court was interpreting a right to farm statute that does not have the exceptions expressly set forth

   in § 823.14(4)(a) and (5). See Himsel, at 942; compare Ind. Code § 32-30-6-9 (LexisNexis

   2019) with Fla. Stat. § 823.14. Thus, the “harmful gases” that the plaintiffs were complaining

   about were not exempted by the Indiana legislature, as is the case here. See Himsel, at 945;

   compare § 32-30-6-9 with § 823.14. Moreover, in reaching their decision, the court made much

   of the fact that the plaintiffs had lived on the adjacent land for decades, and had been provided

   with an opportunity to seek judicial review of the defendants’ long process of obtaining rezoning

   permission for their re-purposing of their adjacent land to construct a pig feeding operation, as

   well as the permits needed, and chose not to. Himsel, at 943–44 (“The Plaintiffs were provided

   ample due process to challenge the size and/or placement of the [feeding] buildings on the Farm,

   yet they decided instead to wait and file a nuisance action more than two years later.”). Finally,

   the negligence the plaintiffs alleged was described as “negligent siting” of the operation, a claim

   not at issue here. See id. at 945.

          In Ehler v. LVDVD, L.C., 319 S.W.3d 817 (Tex. App. 2010), again, the statute at issue

   provided none of the express exceptions in Florida’s statute. See generally id; compare Tex.

   Agric. Code § 251.004 with Fla. Stat. § 823.14. Furthermore, it limited its finding to a trespass

   claim, see Ehler, at 824, and there are far more diverse claims at issue here. The third case

   Defendants rely on, Rancho Viejo v. Tres Amigos Viejos, 123 Cal. Rptr. 2d 479 (2002), is

   similarly inapposite. The statute in question, Cal. Civ. Code § 3482.5, contains no express carve




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   outs as to its application. Compare id. with § 823.14. And the court was only comparing

   nuisance and trespass, and not the claims asserted here. See Rancho Viejo, at 562.

          While Plaintiffs clearly object to a finding of an equivalency between nuisance and

   trespass based on out of state decisions and out of state statutes that do not expressly provide

   carve outs, even if arguendo, the Court agreed with Defendants, Plaintiffs have alleged far more

   than nuisance and trespass.8 Florida’s Right to Farm Act does not create an absolute immunity

   for agricultural producers, and Defendants’ arguments should be rejected, and their Motion

   should be denied.

   III.   Kirk’s Fairly Narrow Holding Does Not Preclude Plaintiff’s Claims Here.

          Defendants’ reliance on Kirk, supra, 783 So. 2d at 1029 is unavailing. A plain reading of

   that complaint reveals that the case was a one count complaint based on public nuisance. [See

   DE 84, Exhibit 1].9 The Florida Supreme Court’s decision is thus necessarily limited to a finding

   of primary jurisdiction based on a claim of public nuisance. As Defendants admit, Plaintiffs do

   not make a claim for public nuisance. (Motion at 14). Yet, Defendants go on for nearly five

   pages arguing points that are irrelevant to the private nuisance claims at issue here, and concede

   as much, pointing out that the Kirk court had distinguished between “claims for public nuisance

   seeking injunctive relief, which were stayed by the primary jurisdiction doctrine, and private



   8
     Furthermore, Florida has codified a right to a private nuisance claim to enjoin under Fla. Stat. §
   60.05 (LexisNexis 2019), and Florida law recognizes the distinct difference between nuisance
   and trespass: A nuisance is “[a]nything which annoys or disturbs one in the free use, possession,
   or enjoyment of his property, or which renders its ordinary use or occupation physically
   uncomfortable.” Jones v. Trawick, 75 So. 2d 785, 787 (Fla. 1954). By contrast, the fundamental
   requirements for a claim of trespass are that the plaintiff is the owner or in possession of land and
   that land was invaded by defendant. Okaloosa County Gas Dist. v. Enzor, 101 So.2d 406, 407
   (Fla. 1st DCA 1958). The injured party has control over the entry in a trespass; not in nuisance.
   9
     The Kirk complaint is an exhibit to the Florida Crystals group of Defendants’ Motion to
   Dismiss on grounds other than those here, and which the U.S. Sugar Motion Defendants have
   expressly joined. (Motion at 1).
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   damage claims, which were not stayed.”            (Motion at 13 (citing Kirk, at n.2) (emphasis

   supplied)).10    Defendants even helpfully cite other Florida decisions supporting Plaintiffs’

   arguments and claims. (Motion at 13).

            A case related to and decided on the same day as one of those supporting cases, Sher v.

   Raytheon Co., even details how Florida courts have recognized the narrowness of Kirk and how

   it does not apply to claims such as those here:

            Raytheon relies primarily on Flo-Sun, Inc. v. Kirk, 783 So.2d 1029 (Fla.2001),
            which describes the doctrine of primary jurisdiction as one of judicial deference.
            [Kirk], 783 So.2d at 1036 n. 4 & 1039. The particular facts of the [Kirk] case
            dictated that the issues reached “beyond the ordinary experience of judges and
            juries” and fell within the special competence attributed to the administrative
            agency. The case at hand, however, does not dictate the same result because it is
            distinguishable from [Kirk]. Although [Kirk] involved an environmental action,
            the case turned on technical questions requiring the expertise of the agency,
            specifically a claim for public nuisance. In [Kirk], sugar producers had polluted
            the community at large by the harvesting and processing of sugar cane by
            disposing of furfural in deep wells without a permit from the [Florida Department
            of Environmental Protection]. In contrast, the instant case seeks damages for the
            loss of use and decrease in property value caused by the contaminants, not the
            general enforcement of the state’s pollution laws in the form of an adjudication of
            a public nuisance. Hence, this Court will not defer determination of damages to
            the FDEP in this case.

   No. 8:08-CV-889-T-26TGW, 2008 WL 2756570, at *3 (M.D. Fla. July 14, 2008). So, in

   essence, Section III of the Motion is of no application here, no matter how Defendants try to

   twist it. Count VII of the Complaint plainly does not seek to enjoin activity based on a public

   nuisance, but very clearly a private nuisance and the other “private damages” claims raised by

   Plaintiffs. Thus, the primary jurisdiction doctrine does not preclude Plaintiffs from seeking to

   prevent those damages.

            Moreover, even if, arguendo, primary jurisdiction did apply here, Defendants are

   incorrect in stating that an agency’s “egregious or devastating” conduct is the only exception to


   10
        Moreover, see Note 8.
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   the application of the primary jurisdiction doctrine. (Motion at 14). Kirk very clearly observes

   that because “the doctrine of primary agency jurisdiction may apply does not necessarily mean

   that it must be applied[,]” and that it “does not serve to divest the circuit court of jurisdiction; it

   merely counsels that when issues arise which have been placed within the special competence of

   an administrative body, the court should practice judicial restraint.” 783 So. 2d at 1039, 1041. A

   court can retain its jurisdiction in the face of the existence of an agency’s administrative scheme,

   if there is reason to. See id. Plaintiffs allegations that the toxic ash raining down on their

   properties, which, again, must be taken as true at this stage, set forth the existence of conditions

   that are harmful, dangerous, and injurious to Plaintiffs and the putative class, and which the FFS

   only allows as part of its land management prescriptive burn program to prevent wildfires. This

   would not be a case for judicial restraint if primary jurisdiction could apply.

          As stated in the introduction, this is also not a case about enjoining the issuance of burn

   permits, or whether the Forest Service is allowed to issue them. It is a case about getting the

   Defendants to stop seeking the permits in the first place, causing Plaintiffs and the putative class

   harm, and instead switching to a superior, recognized, and non-damaging harvesting method.11

   A.     Defendants’ Motion, and the Actions of the Department of Agriculture,
          Demonstrate the Relevance of Plaintiffs’ Political Influence Allegations.

          The recent actions by the Department of Agriculture on FFS regulations only further

   support Plaintiffs’ claims that the communities in the Affected Area are not protected by them;

   that they chiefly serve the wealthier parts of the County; and that a review of their history would




   11
      The Florida Crystals group of Defendants also attempt to argue that injunctive relief cannot
   stand on its own. That is not the case. See Klay v. United Healthgroup, Inc., 376 F.3d 1092
   (11th Cir. 2004) (a separate claim for the relief is allowed so long as it is based in or tied to
   another underlying cause of action, as it is here).
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   counsel against deference to the FFS.12 (See Motion at 13, its Exs. B and C). First, Commission

   Fried’s October 1, 2019 press release did not extol the virtues of Florida’s sugarcane burning

   scheme as a “national model” and “scientifically sound practice.” (See Mot. Ex. C). It extolled

   the virtues of its wildfire prevention/land management scheme. (See id.). Although, Plaintiffs

   would posit, with all due respect to Commissioner Fried, that where Florida is consistently “the

   top contributor” to carbon emissions nationwide, “largely due to the harvesting activities,” and

   that “Florida is responsible for annually producing 17% of the total national CO2, CO and

   PM2.513 burn emissions, 12% of the PM10 burn emissions, and 9.5% of the CH4 burn emissions,”

   burning may not always be a great national model.           (Compl. 53).     Moreover, Defendants

   conveniently forget Plaintiffs’ extensive and detailed allegations of scientific findings that green

   harvesting is environmentally superior, while burning releases dangerous substances into the air

   that pollute and can embed deeply in the lungs, and which are taken as true. Florida’s sugarcane

   burning is actually a national model of toxicity and scientifically unsound practices.

          It should also be noted that the new regulations — the first in thirty years according to

   Commissioner Fried — really do little more than add some “Wildlands Areas” protections, an

   issue of little relevance to Plaintiffs’ and the putative class’s claims. (Motion, Ex. B at 3). Next,

   when you match up the prohibitions on burns in specific sugarcane field zones based on wind

   direction, with the provided zone map, they very clearly state that prohibitions occur when the

   winds are blowing from the westerly directions, or towards the wealthy sections of Palm Beach



   12
      Defendants take a mocking approach to Plaintiffs’ allegations of Defendants’ huge political
   clout within the state, however, it is at least curious that within a month of the service of the
   Complaint, the Department of Agriculture announced the first (and still only minor) changes to
   the regulations in almost thirty years. (See Commissioner Fried’s statement, Ex. C).
   13
      Particulate matter is denoted as “PM” with a subscript indicating the diameter of the particles,
   such as PM2.5 (particulate matter with a diameter of less than 2.5 micrometers), PM10 (diameter
   of less than 10 micrometers), or PM0.5 (diameter of less than 0.5 micrometers).
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   County, and not when the winds are blowing from the easterly directions, or away from those

   wealthier areas, and towards the communities inhabited by Plaintiffs and the putative class.

   (Motion, Ex. B at 5–7, 9).     Again, even if primary jurisdiction could apply here — which it

   should not — this is very much a time when the Court should retain its jurisdiction, as Kirk

   allows, since the FFS regulations, relatively unchanged for thirty years, do not address the issues

   in this Complaint. For all of the foregoing reasons, Defendants’ Motion should be denied.

   IV.    Alternatively, Plaintiffs Should Be Granted Leave to Amend.

          In the event that the Court should agree with Defendants, even in part, the Court should

   grant Plaintiffs leave to amend because leave to amend should be freely given when justice so

   requires. Fed.R.Civ.P. 15(e). “[L]eave to amend should be liberally granted.” Burger King Corp.

   v. Weaver, 169 F.3d 1310, 1318 (11th Cir. 1999). “[U]nless a substantial reason exists to deny

   leave to amend, the discretion of the district court is not broad enough to permit denial.” Fla.

   Power & Light Co. v. Allis Chalmers Corp., 85 F.3d 1514, 1520 (11th Cir. 1996) (quotation

   omitted). Some reasons that may support a denial of leave to amend include undue delay, bad

   faith, dilatory motive, repeated failures to cure deficiencies, undue prejudice to the opposing

   party, or futility. Id. (citation omitted). However, none of those characteristics are present here.

   The case is still in its very early stages, and discovery has not even begun, thus there can be no

   undue delay nor any prejudice to Defendants, nor is there any bad faith or dilatory motive.

   Though Plaintiffs have filed one amended complaint, pursuant to Fed.R.Civ.P. 15(a)(1), it was

   prior to service of any complaint, and this request to amend does not qualify as a repeated failure

   to cure deficiencies, nor would the amendments be futile, as amply argued above.

          Since the filing of the Complaint, Plaintiffs have identified additional potential named

   plaintiffs from other communities within the Affected Area. Furthermore, more recent air



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   modeling that has been conducted visually demonstrates Plaintiff’s allegations that the plume

   from even one burn from a remote Defendant can impact entire miles wide swaths of the

   Affected Area. Moreover, Plaintiffs can easily clarify their position that there is no such thing as

   a good sugarcane burn, and that has always been the case. Also, Plaintiffs can further clarify that

   the injunctive relief they are seeking is not to enjoin FFS or any other agency, but to have

   Defendants embrace a green harvesting alternative that is fully allowed and that would not cause

   the injuries complained of here.

                                            CONCLUSION

          For all of the foregoing reasons, Defendants have failed to argue any grounds warranting

   dismissal, either with or without prejudice, and their Motion should be denied. However, should

   the Court disagree, Plaintiffs should be granted leave to amend the Complaint.


          WHEREFORE, for the foregoing reasons, Named Plaintiffs respectfully request that the

   Court deny the U.S. Sugar Motion Defendants’ Motion to Dismiss, or in the alternative, grant

   Named Plaintiffs leave to Amend, and for such other relief as the Court deems just and proper.


   Dated this 22nd day of November, 2019.


                                                 Respectfully Submitted,


                                                 /s Matthew T. Moore

                                                 Matthew T. Moore, Esq.
                                                 Florida Bar No. 70034
                                                 Zachary West, Esq.
                                                 Florida Bar No. 71134
                                                 Joseph Schulz, Esq.
                                                 Florida Bar No. 660620


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                                              THE BERMAN LAW GROUP
                                              Post Office Box 272789
                                              Boca Raton, Florida 33427
                                              Ph: (561) 826-5200
                                              Fax: (561) 826-5201
                                              service@thebermanlawgroup.com
                                              mmoore@thebermanlawgroup.com
                                              zwest@thebermanlawgroup.com

                                              Attorneys for Plaintiffs

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 22nd day of November, 2019, a true copy of the

   foregoing has been electronically filed with the Clerk of Court by using the CM/ECF system, and

   copies of the foregoing were served on all those listed on the attached Service List via the

   Court’s CM/ECF service.

                                              /s Matthew T. Moore
                                              Matthew T. Moore, Esq.
                                              Fla. Bar No. 70034




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                                           SERVICE LIST
                                     Case # 9:19-cv-80730-RS
                                  Coffie, et al. v. King Ranch, et al.

   Attorneys for Plaintiffs
   Matthew T. Moore, Esq.
   Joseph C. Schultz, Esq.
   Zachary West, Esq.                               Attorneys for J &J Ag Products, Inc.
   The Berman Law Group                             Andrew S. Connell, Jr., Esq.
   PO Box 272789                                    Litchfield Cavo LLP
   Boca Raton, FL 33427                             600 Corporate Drive, Suite 600
   T: 561-826-5200                                  Ft. Lauderdale, FL 33334
   F: 561-826-5201                                  T: 954-689-3000
   Primary                                          F: 954-689-3001
   Email:service@thebermanlawgroup.com              Email: Connell@litchfieldcavo.com;
   Secondary Email:                                 deatley@litchfieldcavo.com
   mmoore@thebermanlawgroup.com
   jschulz@thebermanlawgroup.com
   zwest@thebermanlawgroup.com

                                                    Attorneys for Defendants United States Sugar
                                                    Corporation, Sugarland Harvesting Co., and
                                                    Independent Harvesting, Inc.
                                                    Brian M. McPherson, Esq.
   Attorneys for Defendant,
                                                    Gregor J. Schwinghammer, Jr., Esq.
   Sugar Cane Growers Cooperative of Florida
                                                    Gunster, Yoakley & Stewart, PA
   Jennifer J. Kennedy, Esq.
                                                    777 S. Flagler Drive, Suite 500 East
   Abbey, Adams, Byelick & Mueller, LLP
                                                    West Palm Beach, FL 33401
   360 Central Avenue, 11th Floor
                                                    T: 561-655-1980
   St. Petersburg, FL 33711
                                                    F: 561-655-5677
   T: 727-821-2080
                                                    Primary Email: bmcpherson@gunster.com
   F: 727-822-3970
                                                    gschwinghammer@gunster.com
   Email: jkennedy@abbeyadams.com
                                                    Secondary Emails: eservice@gunster.com
   ServiceJKennedy@AbbeyAdams.com
                                                    jhoppel@gunster.com
   David J. Abbey, Esq.
                                                    Mark R. Ter Molen, Esq.
   Abbey, Adams, Byelick & Mueller, LLP
                                                    Timothy S. Bishop, Esq.
   3201 US Highway 19 South, 9th Floor
                                                    Mayer Brown, LLP
   St. Petersburg, FL 33711
                                                    71 South Wacker Drive
   T: 727-821-2080
                                                    Chicago, IL 60606
   Email: servicedabbey@abbeyadams.com
                                                    Ter Molen - T: 312-701-7307
   PRO HAC VICE
                                                    Bishop – T: 312-701-7829
                                                    Email: mtermolen@mayerbrown.com
                                                    tbishop@mayerbrown.com
                                                    PRO HAC VICE


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                                                      Attorneys for Florida Crystals
                                                      Corporation, Flo
                                                      Sun Incorporated, American Sugar
   Attorneys for Florida Crystals Corporation, Flo
                                                      Refining, Inc.,
   Sun Incorporated, American Sugar Refining, Inc.,
                                                      Okeelanta Corporation, and Osceola
   Okeelanta Corporation, and Osceola Farms
                                                      Farms
   Jennifer Ann McLoone, Esq.
                                                      David Brent Dwerlkotte, Esq.
   Shook, Hardy & Bacon, LLP
                                                      Mark D. Anstoetter, Esq.
   201 South Biscayne Blvd., Suite 3200
                                                      Shook, Hardy & Bacon, LLP
   Miami, FL 33131
                                                      2555 Grand Boulevard
   T: 305-358-5171
                                                      Kansas City, MO 64108
   F: 305-358-7470
                                                      T: 816-474-6550
   Email: jmcloone@shb.com
                                                      Email: dbdwerlkotte@shb.com
                                                      manstoetter@shb.com
                                                      PRO HAC VICE
   Attorneys for King Ranch, Inc.
                                                      Attorneys for Trucane Sugar Corporation
   J. Jeffrey Deery, Esq.
                                                      Mark A. Hendricks, Esq.
   Timothy J. Kiley, Esq.
                                                      Forrest L. Andrews, Esq.
   Heidi M. Mitchell, Esq.
                                                      Lydecker Diaz
   Winderweedle, Haines, Ward & Woodman, PA
                                                      1221 Brickell Avenue, 19th Floor
   329 Park Avenue South, 2nd Floor
                                                      Miami, FL 33131
   Winter Park, FL 32789
                                                      T: 305-416-3180
   T: 407-423-4246
                                                      F: 305-416-3190
   F: 407-645-3728
                                                      Email: mah@lydeckerdiaz.com;
   Email: jdeery@whww.com; tkiley@whww.com;
                                                      fla@lydeckerdiaz.com
   hmitchell@whww.com
                                                      Secondary Email: ih@lydeckerdiaz.com;
   Secondary Email: acothran@whww.com;
                                                      adl@lydeckerdiaz.com
   thiggens@whww.com
   Co-Counsel for US Sugar Corporation, Sugarland
   Harvesting Co., and Independent Harvesting, Inc.
   Eugene K. Pettis, Esq.
   Haliczer Pettis & Schwamm, PA
   One Financial Plaza, 7th Floor
   100 SE 3rd Avenue
   Fort Lauderdale, FL 33394
   T: 954-523-9922
   F: 954-522-2512
   Email: Service@hpslegal.com




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